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                          THE LAW OFFICES OF JOHN F. BAUGHMAN
                         (347) 241-6347       jbaughman@jfblegal.com
                        299 Broadway – Suite 207   1208 Armistead Bridge Rd.
                          New York, NY 10007           Norfolk, VA 23507


                                                     August 19, 2020

The Honorable Jesse Furman
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


          Citibank v. HPS Investment Partners, LLC and Symphony Asset Management
                                         (20-cv-06617)
                                      Related Matter To:
                           Citibank v. Brigade Capital Manager, LP
                                      20-cv-06539 (JMF)


Dear Judge Furman:

        I represent Citibank. Last night, I filed a complaint on behalf of Citibank against HPS
Investment Partners, LLC and Symphony Asset Management. The complaint raises the same
issues raised in the complaint in the Citibank v. Brigade matter, on which Your Honor heard
argument and issued an order yesterday. In the new action, Citibank is seeking the same
preliminary relief that it requested (and Your Honor granted) against the defendants in the Brigade
matter. We marked the new case as related to the Brigade matter.

       With all of this in mind, I respectfully request that I be permitted to participate in the
conference Your Honor has scheduled for today, August 19, 2020 at 10 am.

        I have left telephone and email messages for Brigade’s counsel at Quinn Emanuel to seek
their consent to my participation in the hearing. I would also like to ask whether Quinn Emanuel
will be representing HPS and Symphony. I have not as yet, however, received a response.

                                                     Respectfully submitted,




                                                     John F. Baughman

cc:    Robert Loigman – Counsel for Brigade in 1:20-cv-06539
       Matthew Ingber – Counsel for Citibank in 1:20-cv-06539
